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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

FARMERS INSURANCE                         )
EXCHANGE, TRUCK                           )
INSURANCE EXCHANGE, FIRE                  )
INSURANCE EXCHANGE, MID-                  )
CENTURY INSURANCE                         )
COMPANY, and FARMERS NEW                  )
WORLD LIFE INSURANCE                      )
COMPANY,                                  )
                                          )
              Plaintiffs,                 )
                                          )
       v.                                 )     CASE NO. 3:19-CV-163-WKW
                                          )
DAVID SCOTT GORDON and                    )
CORNERSTONE INSURANCE &                   )
FINANCIAL GROUP, INC.,                    )
                                          )
              Defendants.                 )

                            CONSENT JUDGMENT

      Plaintiffs Farmers Insurance Exchange, Truck Insurance Exchange, Fire

Insurance Exchange, Mid-Century Insurance Company, and Farmers New World

Life Insurance Company (collectively, “Farmers”), and Defendants David Scott

Gordon (“Gordon”) and Cornerstone Insurance & Financial Group, Inc.

(“Cornerstone”) (collectively, “Defendants”), have reached an agreement to resolve

the claims and controversies in the above-captioned litigation. (Doc. # 15.) Pursuant

to that agreement and the parties’ supplemental stipulation (Doc. # 17), it is

ORDERED, ADJUDGED, and DECREED that, with the consent of Defendants,
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judgment is entered in favor of Plaintiffs and against Defendants for injunctive relief

as follows:

      (1)     For a period commencing immediately and continuing through August

31, 2019, Gordon and Cornerstone will not directly or indirectly solicit, accept, or

service the insurance business of any Farmers policyholder who was a policyholder

of record with Gordon’s agency as of August 31, 2018; and

      (2)     Gordon and Cornerstone will not, at any time following entry of this

Consent Judgment, use the confidential information and/or trade secrets of Farmers

for any purpose.

      This action is DISMISSED with prejudice, subject to the parties’ compliance

with the provisions set forth in this Consent Judgment, with the parties bearing their

own attorneys’ fees and costs.

      The court shall retain jurisdiction over the enforcement of the settlement

agreement for three years until July 23, 2022.

      The Clerk of the Court is DIRECTED to close this action.

      DONE this 23rd day of July, 2019.

                                                    /s/ W. Keith Watkins
                                              UNITED STATES DISTRICT JUDGE




                                          2
